                                                              United States Bankruptcy Court
                                                                  District of New Mexico
In re:                                                                                                                 Case No. 21-11322-j
Joel Alan Gaffney                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1084-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 02, 2021                                               Form ID: 309A                                                             Total Noticed: 38
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2021:
Recip ID                   Recipient Name and Address
db                     +   Joel Alan Gaffney, 4200 Montgomery Blvd NE Apt 208, Albuquerque, NM 87109-1154
3983726                +   Brandon D Flath, 200 Skyline Dr, Edgewood, NM 87015-6728
3983727                +   Brian Dale Van Winkle, 702 White mtn, Ruidoso, NM 88345-7729
3983731                +   CPF Commission, 2440 Louisiana Blvd. NE Suite 280, Albuquerque, NM 87110-4403
3983730               #+   Celine Marie Lewis, 6120 Chayote Rd. NE, Rio Rancho, NM 87144-5228
3983734                +   Edward S Gaffney, 2105 Madeira Dr NE, Albuquerque, NM 87110-5141
3983735                +   Fed Loan Serv, Po Box 60610, Harrisburg, PA 17106-0610
3983737                +   Guglielmo & Associates, PO Box41688, Tucson, AZ 85717-1688
3983740                +   Julie Ann Delgado, 1414 S. Union Ave, Apt D-11, Roswell, NM 88203-2682
3983741               #+   Linda Ghaffari, 4716 Taylor Ridge Rd NW, Albuquerque, NM 87120-5717
3983744                +   MRS BPO, 1930 Olney Ave, Cherry Hill, NJ 08003-2016
3983748                +   NM Department of Workforce Solutions, 501 Mountain Rd NE, Albuquerque, NM 87102-2400
3983745                    Nationwide Credit, Inc, PO Box 15130, Wilmington, DE 19850-5130
3983746                +   New Mexico Disciplinary Board, 2440 Louisiana Blvd. NE Ste280, Albuquerque, NM 87110-4403
3983749                +   Nm Mexico Educational, Po Box 27020, Albuquerque, NM 87125-7020
3983751                +   PNC Bank, PO Box96066, Pittsburgh, PA 15226-0066
3983753                +   Sallie Mae Bank Inc, Po Box 3229, Wilmington, DE 19804-0229
3983755                +   Suntrust, 600 W Broadway Ste 2000, San Diego, CA 92101-3358
3983757                +   Timothy Kilguss, 801 Locust Place NE Apt 1251, Albuquerque, NM 87102-1659
3983758                +   Tricore Reference Laboratories, PO Box 27561, Albuquerque, NM 87125-7561

TOTAL: 20

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
tr                         EDI: FYGONZALES.COM
                                                                                        Dec 03 2021 03:28:00      Yvette J. Gonzales, Trustee, PO Box 1037,
                                                                                                                  Placitas, NM 87043-1037
ust                        Email/Text: USTPREGION20.OC.ECF@USDOJ.GOV
                                                                                        Dec 02 2021 22:25:00      United States Trustee, PO Box 608, Albuquerque,
                                                                                                                  NM 87103-0608
3983724                + EDI: AMEREXPR.COM
                                                                                        Dec 03 2021 03:28:00      Amex, Po Box 297871, Fort Lauderdale, FL
                                                                                                                  33329-7871
3983728                    EDI: CAPITALONE.COM
                                                                                        Dec 03 2021 03:28:00      Capital One Bank Usa N, 15000 Capital One Dr,
                                                                                                                  Richmond, VA 23238
3983729                + EDI: CAPITALONE.COM
                                                                                        Dec 03 2021 03:28:00      Capital one, Po Box 30253, Salt Lake City, UT
                                                                                                                  84130-0253
3983732                    EDI: DISCOVER.COM
                                                                                        Dec 03 2021 03:28:00      Discover Bank, PO Box 30943, Salt Lake City, UT
                                                                                                                  84130
3983733                + EDI: DISCOVER.COM
                                                                                        Dec 03 2021 03:28:00      Discover Fin Svcs Lie, Po Box 15316,
                                                                                                                  Wilmington, DE 19850-5316
3983736                + Email/Text: Banko@frontlineas.com
                                                                                        Dec 02 2021 22:25:00      Frontline Asset Strategies, 2700 Snelling Ave N.



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                                                                                                            Suite 250, Roseville, MN 55113-1783
3983738                  EDI: IRS.COM
                                                                                   Dec 03 2021 03:28:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
3983739                  EDI: JPMORGANCHASE
                                                                                   Dec 03 2021 03:28:00     JpmcbCard, Po Box 15298, Wilmington, DE
                                                                                                            19850
3983742               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Dec 02 2021 22:43:30     Lvnv Funding Uc, Po Box 1269, Greenville, SC
                                                                                                            29602-1269
3983743               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                   Dec 02 2021 22:43:30     Merrick Bank Corp, Po Box 9201, Old Bethpage,
                                                                                                            NY 11804-9001
3983747                  EDI: NMTRD.COM
                                                                                   Dec 03 2021 03:28:00     New Mexico Taxation & Revenue Department,
                                                                                                            Bankruptcy Section, PO Box 8575, Albuquerque,
                                                                                                            NM 87198-8575
3983725                  Email/Text: Bankruptcy.Notices@pnc.com
                                                                                   Dec 02 2021 22:25:00     Bbva Usa, 15 20th St S fl 9, Birmingham, AL
                                                                                                            35233
3983752                  EDI: PRA.COM
                                                                                   Dec 03 2021 03:28:00     Portfolio Recovery Associates LLC, PO Box
                                                                                                            12914, Norfolk, VA 235441
3983750                  EDI: RMSC.COM
                                                                                   Dec 03 2021 03:28:00     PayPal Credit, PO Box 71202, Charlotte, NC
                                                                                                            28272-1202
3983754                  Email/Text: lhunsaker@sofi.org
                                                                                   Dec 02 2021 22:25:00     Sofi, 2750 E Cottonwood Pkwy, Cottonwood
                                                                                                            Heights, UT 84121
3983756               + EDI: RMSC.COM
                                                                                   Dec 03 2021 03:28:00     Synchrony Bank, Attn: Bankruptcy Dept., P.O.
                                                                                                            Box 965061, Orlando, FL 32896-5061

TOTAL: 18


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2021                                        Signature:           /s/Joseph Speetjens




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Information to identify the case:
Debtor 1            Joel Alan Gaffney                                                    Social Security number or ITIN       xxx−xx−7210
                    First Name    Middle Name      Last Name                             EIN    83−3736934



United States Bankruptcy Court         District of New Mexico
                                                                                         Date case filed for chapter 7 12/2/21
Case number:       21−11322−j7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                            About Debtor 1:                                           About Debtor 2:

1.     Debtor's full name                   Joel Alan Gaffney

2.     All other names used in the dba Gaffney Law, PC, dba American Income
       last 8 years                Life Insurance

3.     Address                              4200 Montgomery Blvd NE Apt 208
                                            Albuquerque, NM 87109

4.     Debtor's attorney                    Joel Alan Gaffney
       Name and address                     4200 Montgomery Blvd NE Apt 208
                                            Albuquerque, NM 87109
                                            Contact phone 505−261−7157
                                            Email None

5.     Bankruptcy Trustee                   Yvette J. Gonzales                                        Contact phone 505−771−0700
       Name and address                     Trustee
                                            PO Box 1037                                               Email yjgllc@yahoo.com
                                            Placitas, NM 87043−1037
                                                                                                              For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
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Debtor Joel Alan Gaffney                                                                                               Case number 21−11322−j7


6. Bankruptcy clerk's office                    Pete V. Domenici U.S. Courthouse                             Hours open 8:30 AM to 4:00 PM
                                                333 Lomas Blvd. NW, Suite 360
    Documents in this case may be filed at this Albuquerque, NM 87102                                        Contact
    address. You may inspect all records filed                                                               phone 505−415−7999/866−291−6805
    in this case at this office or online at
    https://pacer.uscourts.gov.                                                                              Court Website www.nmb.uscourts.gov


7. Meeting of creditors                          January 3, 2022 at 11:30 AM                                 Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              AT THE TIME SHOWN CALL:
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            1−877−633−8981, Passcode:
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     4824077, after joining the call,
                                                                                                             press *6 to mute/unmute.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 3/4/22
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or
                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).

                                                 Deadline to File Certification About a Financial Filing deadline: 3/4/22
                                                 Management Course:

                                                 • You must file a statement that you have completed
                                                   the personal financial management course pursuant
                                                   to Federal Rule of Bankruptcy Procedure 1007(c).



                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                 that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                 receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2




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